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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          EUREKA DIVISON

                                   7
                                        VINCENT BRUCE,
                                   8                                                       Case No. 14-cv-4298-NJV (PR)
                                                       Plaintiff,
                                   9                                                       ORDER GRANTING DEFENDANTS’
                                                v.                                         MOTION FOR SUMMARY JUDGMENT
                                  10
                                        MICHAEL SAYRE, et. al.,
                                  11
                                                       Defendants.                         Docket No. 36
                                  12
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                                  13

                                  14          Plaintiff, a state prisoner, proceeds with a pro se civil rights complaint under 42 U.S.C. §

                                  15   1983. Plaintiff alleges that defendants, Dr. Ikegbu and Dr. Adam, provided inadequate medical

                                  16   care for his shoulder and back pain. On January 13, 2017, Defendants filed a motion for summary

                                  17   judgment. (Doc. 36.) Defendants had previously filed a motion for summary judgment on

                                  18   November 10, 2015. (Doc. 22.) Plaintiff did not file an opposition to the first motion for

                                  19   summary judgment and instead sought additional discovery. On July 5, 2016, the court ordered

                                  20   additional discovery to be provided to plaintiff. (Doc. 32.) On August 15, 2016, plaintiff sought

                                  21   an additional 30 days to file an opposition after receiving the additional discovery. (Doc. 33.)

                                  22   Because plaintiff had received additional discovery, the court terminated the motion for summary

                                  23   judgment without prejudice and ordered defendants to refile it after several months so that plaintiff

                                  24   would have sufficient time to prepare his opposition. (Docs. 34, 35.) It was refiled on January 13,

                                  25   2017. (Doc. 36.) On February 9, 2017, plaintiff requested an additional 90 days to file an

                                  26   opposition because he had approaching deadlines in other cases. (Doc. 43.) The court denied the

                                  27   extension in part and provided plaintiff an additional 28 days to file an opposition. (Doc. 44.) The

                                  28   court noted that plaintiff had had more than 14 months to review the motion for summary
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                                   1   judgment. 1 Several months have passed since plaintiff was provided the extension, and he has not

                                   2   filled an opposition or otherwise communicated with the court. The court will still look to the

                                   3   merits of the motion for summary judgment and for the reasons set forth below the motion is

                                   4   granted.

                                   5                                               DISCUSSION

                                   6            Legal Standard

                                   7            Summary judgment is proper where the pleadings, discovery, and affidavits show there is

                                   8   “no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

                                   9   law.” See Fed. R. Civ. P. 56(a). Material facts are those that may affect the outcome of the case.

                                  10   See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute as to a material fact is

                                  11   genuine if the evidence is such that a reasonable jury could return a verdict for the nonmoving

                                  12   party. See id.
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                                  13            A court shall grant summary judgment “against a party who fails to make a showing

                                  14   sufficient to establish the existence of an element essential to that party’s case, and on which that

                                  15   party will bear the burden of proof at trial[,] . . . since a complete failure of proof concerning an

                                  16   essential element of the nonmoving party's case necessarily renders all other facts immaterial.”

                                  17   See Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). The moving party bears the initial

                                  18   burden of identifying those portions of the record that demonstrate the absence of a genuine issue

                                  19   of material fact. Id. The burden then shifts to the nonmoving party to “go beyond the pleadings

                                  20   and by [his] own affidavits, or by the ‘depositions, answers to interrogatories, and admissions on

                                  21   file,’ designate ‘specific facts showing that there is a genuine issue for trial.’” See id. at 324

                                  22   (citing Fed. R. Civ. P. 56(e) (amended 2010)).

                                  23            For purposes of summary judgment, the court must view the evidence in the light most

                                  24   favorable to the nonmoving party; if the evidence produced by the moving party conflicts with

                                  25   evidence produced by the nonmoving party, the court must assume the truth of the evidence

                                  26   submitted by the nonmoving party. See Leslie v. Grupo ICA, 198 F.3d 1152, 1158 (9th Cir. 1999).

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                                           The original and refiled motions for summary judgment are nearly identical.
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                                   1   The court’s function on a summary judgment motion is not to make credibility determinations or

                                   2   weigh conflicting evidence with respect to a disputed material fact. See T.W. Elec. Serv., Inc. v.

                                   3   Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987).

                                   4          Deliberate indifference to serious medical needs violates the Eighth Amendment’s

                                   5   proscription against cruel and unusual punishment. Estelle v. Gamble, 429 U.S. 97, 104 (1976);

                                   6   McGuckin v. Smith, 974 F.2d 1050, 1059 (9th Cir. 1992), overruled on other grounds, WMX

                                   7   Technologies, Inc. v. Miller, 104 F.3d 1133, 1136 (9th Cir. 1997) (en banc). A determination of

                                   8   “deliberate indifference” involves an examination of two elements: the seriousness of the

                                   9   prisoner’s medical need and the nature of the defendant’s response to that need. Id. at 1059.

                                  10   A “serious” medical need exists if the failure to treat a prisoner’s condition could result in further

                                  11   significant injury or the “unnecessary and wanton infliction of pain.” Id. The existence of an

                                  12   injury that a reasonable doctor or patient would find important and worthy of comment or
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                                  13   treatment; the presence of a medical condition that significantly affects an individual’s daily

                                  14   activities; or the existence of chronic and substantial pain are examples of indications that a

                                  15   prisoner has a “serious” need for medical treatment. Id. at 1059-60.

                                  16          A prison official is deliberately indifferent if he or she knows that a prisoner faces a

                                  17   substantial risk of serious harm and disregards that risk by failing to take reasonable steps to abate

                                  18   it. Farmer v. Brennan, 511 U.S. 825, 837 (1994). The prison official must not only “be aware of

                                  19   facts from which the inference could be drawn that a substantial risk of serious harm exists,” but

                                  20   he “must also draw the inference.” Id. If a prison official should have been aware of the risk, but

                                  21   was not, then the official has not violated the Eighth Amendment, no matter how severe the risk.

                                  22   Gibson v. County of Washoe, 290 F.3d 1175, 1188 (9th Cir. 2002). “A difference of opinion

                                  23   between a prisoner-patient and prison medical authorities regarding treatment does not give rise to

                                  24   a § 1983 claim.” Franklin v. Oregon, 662 F.2d 1337, 1344 (9th Cir. 1981).

                                  25          Facts

                                  26          Despite plaintiff’s failure to file an opposition, the court has looked to plaintiff’s verified

                                  27   amended complaint. The following facts are undisputed, unless otherwise noted.

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                                   1           Dr. Ikegbu

                                   2           Dr. Ikegbu first treated plaintiff on July 18, 2011. Motion for Summary Judgment (“MSJ”)

                                   3   Ikegbu Decl. at 2. She diagnosed plaintiff with chronic left shoulder pain, most likely due to

                                   4   rotator cuff strains, and found a full range of motion without tenderness. Id. Plaintiff did not

                                   5   complain of chronic back pain. Id.

                                   6           On July 28, 2011, another doctor provided a cardiology consultation for plaintiff, who did

                                   7   not complain of shoulder or back pain. Id. On August 9, 2011, a nurse treated plaintiff for

                                   8   shoulder and hip pain, prescribing Ibuprofen, 600 mg, for 60 days. Id. On September 14, 2011,

                                   9   Dr. Ikegbu administered a steroid injection of Lidocaine to plaintiff’s right hip to address hip pain.

                                  10   Id. at 3. Plaintiff did not complain of back pain and noted low level shoulder pain of 2 out of 10.

                                  11   Id.

                                  12           Plaintiff was treated on October 12, October 26 and November 4, 2011, for other medical
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                                  13   problems, and he did not complain of shoulder or back pain.

                                  14           On November 23, 2011, plaintiff complained of shoulder pain and noted that the earlier

                                  15   steroid injection helped with pain. Id. He said the pain was 5 out of 10 in his left shoulder. He

                                  16   did not describe any back pain. Id.

                                  17           On December 7, 2011, Dr. Ikegbu treated plaintiff for shoulder pain that plaintiff described

                                  18   as a 3 out of 10. Dr. Ikegbu thought the pain was likely due to osteoarthritis of the

                                  19   acromioclavicular/glenohumeral joint. She prescribed x-rays, continued stretching, continued

                                  20   Ibuprofen, consideration of a steroid injection and further follow-up pending the radiology report.

                                  21   Id.

                                  22           On December 16, 2011, an outside radiologist evaluated the x-rays of plaintiff’s left

                                  23   shoulder that were taken on December 13, 2011. The doctor found no evidence of fracture or

                                  24   dislocation and noted that no degenerative changes were observed. The doctor concluded that the

                                  25   x-rays did not show there was anything orthopedically wrong with the shoulder. Id.

                                  26           On January 18, February 17, March 7, April 9 and April 10, 2012, plaintiff was treated by

                                  27   medical staff who provided him with additional Ibuprofen and information about yoga and back

                                  28   exercises. Id. at 4; MSJ Exs. L, M, N.
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                                   2          Plaintiff filed an inmate appeal concerning inadequate treatment for pain in his shoulders.

                                   3   MSJ, Alweiss Decl. at 2. On May 21, 2012, Dr. Ikegbu interviewed plaintiff concerning the

                                   4   appeal. Ikegbu Decl. at 4. She noted that his left shoulder x-ray from December 13, 2011, and a

                                   5   right shoulder x-ray from February 20, 2008, were both normal and that he should continue taking

                                   6   600 mg of Ibuprofen. Id. Dr. Ikegbu denied plaintiff’s request for an orthopedic referral because

                                   7   he did not present with any surgically correctable disorder, but she did request a new x-ray for his

                                   8   right shoulder and an accommodation for double-cuff handcuffs. Id. at 5. She denied physical

                                   9   therapy because plaintiff had good power, muscle tone and range of motion and physical therapy

                                  10   would not provide any benefit. Id. She denied hot and cold packs because they are beneficial for

                                  11   acute injury, not chronic pain. Id.

                                  12          On May 25, 2012, an outside radiologist evaluated plaintiff’s right shoulder x-ray. The
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                                  13   doctor concluded that there was minimal degenerative change of the acromioclavicular joint and

                                  14   no significant changes of the glenohumeral joint. Id. Plaintiff was regularly seen by medical staff

                                  15   for the remainder of 2012 and 2013 during which time he was continually provided Ibuprofen 600

                                  16   mg. Id. at 5-6. At a February 21, 2013, exam, medical staff noted that while plaintiff had

                                  17   tenderness, he had normal range of motion and minimal osteoarthritis. Id. at 6. There was no sign

                                  18   of impingement or tear during his back exam. Id.

                                  19          Plaintiff was treated on October 21, 2013, when he reported that his shoulders were stiff

                                  20   and sore, stretching was mildly effective and Ibuprofen worked well for the pain. Id. at 7. He

                                  21   denied any numbness or tingling. Id. Dr. Ikegbu treated plaintiff on November 6, 2013. Plaintiff

                                  22   did not complain of chronic back pain but did note chronic deep pain in his left shoulder with

                                  23   some clicking. He was able to perform stretches and had occasional relief with Ibuprofen. Id. Dr.

                                  24   Ikegbu found no loss of muscle bulk and full range of motion, though there was mild tenderness

                                  25   with clicking. Id. at 8. She continued the prescription for Ibuprofen 600 mg and advised that he

                                  26   continue stretching exercises. This was plaintiff’s last visit with Dr. Ikegbu. Id.

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                                   2          Dr. Adam

                                   3          Dr. Adam became plaintiff’s primary care physician in February 2014. Adam Decl. at 2.

                                   4   On February 20, 2014, plaintiff was treated for lower back pain. He did not have any

                                   5   abnormalities, there was no pain upon palpatation and he had full range of motion. He requested

                                   6   more Ibuprofen, which was provided. Id. Dr. Adam treated plaintiff on March 21, 2014, for

                                   7   hypertension; plaintiff did not complain of shoulder or back pain. Id.

                                   8          Plaintiff was treated by other medical staff in March and April 2014 for his shoulder and

                                   9   back pain. Id. at 2-3. Dr. Adam treated him on May 9, 2014, for shoulder and back pain. Id. at 4.

                                  10   Dr. Adam noted that earlier plaintiff’s pain had gone away and only returned after plaintiff started

                                  11   chest/shoulder exercises. Dr. Adam diagnosed likely rotator cuff tendinopathy in the left shoulder,

                                  12   advised he cut back on shoulder exercises, and use a warm towel and cold compress after
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                                  13   exercising and increased his Ibuprofen dosage, which had been reduced. Id. Plaintiff was treated

                                  14   by other medical staff later in May and in June 2014. Id.

                                  15          On August 11, 2014, Dr. Adam reviewed plaintiff’s treatment. Dr. Adam concluded that

                                  16   plaintiff’s continued back and shoulder pain was a result of his chest and shoulder exercises and

                                  17   that his use of Ibuprofen would not make the conditions go away. Id. Dr. Adam treated plaintiff

                                  18   again on September 16, 2014 for left shoulder pain and diagnosed bicipetal tendinitis with

                                  19   shoulder osteoarthritis and possible involvement of teres minor. Dr. Adam prescribed two

                                  20   sessions of physical therapy to establish an exercise plan. Dr. Adam also advised plaintiff against

                                  21   movements that cause pain and not to use the Ibuprofen to mask the pain. Id. at 4-5. Plaintiff

                                  22   began the physical therapy the week of September 23, 2014. Id. He filed this lawsuit on

                                  23   September 24, 2014. (Doc. 1.)

                                  24          Analysis

                                  25          It is undisputed that defendants provided plaintiff with a great deal of medical care during

                                  26   the relevant time. Plaintiff was seen by defendants or other medical staff several times a month

                                  27   for more than three years. Assuming that plaintiff’s shoulder and back pain qualifies as a serious

                                  28   medical need, defendants were not deliberately indifferent in the treatment they provided.
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                                   1   Defendants have met their burden in showing that there is no genuine dispute of material fact and

                                   2   they are entitled to summary judgment.

                                   3          Defendants regularly examined and treated plaintiff, providing pain medication, x-rays and

                                   4   consultations with radiologists. Plaintiff argues that he should have been referred to a shoulder

                                   5   specialist, yet the x-rays indicated there was nothing orthopedically wrong with the shoulder.

                                   6   Plaintiff also sought hot and cold packs, yet that remedy is not recommended for chronic pain. To

                                   7   the extent that plaintiff disagrees with these medical decisions, this difference of opinion does not

                                   8   demonstrate deliberate indifference. Franklin, 662 F.2d at 1344.

                                   9          Defendants noted that plaintiff had full range of motion and good muscle tone and power.

                                  10   To treat his reported pain, plaintiff was continually prescribed pain medication. Dr. Adam

                                  11   concluded that plaintiff’s pain was being caused by his chest and shoulder exercises and provided

                                  12   physical therapy to devise a new exercise plan. It is unclear if plaintiff followed the new plan or
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                                  13   continued to perform chest and shoulder exercises that were causing him pain.

                                  14          Defendants have met their burden in showing that there is no genuine dispute of material

                                  15   fact and they are entitled to summary judgment. Plaintiff has failed to meet his burden in

                                  16   demonstrating that defendants were aware of a substantial risk of serious harm and disregarded

                                  17   that risk by failing to take reasonable steps. The undisputed facts show that defendants took

                                  18   reasonable steps to treat plaintiff’s medical needs and they are entitled to summary judgment.

                                  19                                             CONCLUSION
                                  20          1. Defendants’ motion for summary judgment (Docket No. 36) is GRANTED.

                                  21          2. The Clerk shall terminate all pending motions, enter judgment, and close the file.

                                  22          IT IS SO ORDERED.

                                  23   Dated: July 10, 2017

                                  24                                                         ________________________
                                                                                             NANDOR J. VADAS
                                  25                                                         United States Magistrate Judge
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